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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Alma Mancilla,                                     No. CV-17-03395-PHX-GMS
10                  Plaintiff,                          ORDER
11   v.
12   Debt Recovery Resources,
13                  Defendant.
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16            Pursuant to the parties’ Stipulation of Dismissal (Doc. 21) and good cause
17   appearing,
18            IT IS HEREBY ORDERED that dismissing this case with prejudice, each party
19   to bear its own attorneys’ fees and costs.
20            Dated this 4th day of April, 2018.
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22
                                 Honorable G. Murray Snow
23                               United States District Judge

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